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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


  UNITED STATES OF AMERICA
  v.                                   CASE NO. 8:18-cr-00411-CEH-AEP-1
  GUSTAVO YABRUDI


    UNOPPOSSED MOTION REQUESTING ADDITIONAL TIME TO
   SELF-SURRENDER AND A CHANGE OF SURRENDER LOCATION

          Defendant, Gustavo Yabrudi, respectfully request that the Court grant

  him additional time to self-surrender and change his surrender location. In

  support of said request, Defendant states as follows:

       1. On July 30, 2019, the Court sentenced defendant to 46 months

          imprisonment and 36 months supervised release.

       2. On the same day the Court granted the Defendant’s oral motion for self-

          surrender.

       3. Defendant is currently set to self-surrender on September 27, 2019, at

          2:00 p.m. at the Marshal’s Office, 801 North Florida Avenue, Tampa,

          Florida.

       4. However, Mr. Yabrudi respectfully requests an additional sixty (60) days

          to self-surrender based on circumstances previously discussed with the

          Court.
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     5. Furthermore, Defendant is attempting to resolve his pending criminal

        case in Florida State Court (F-18-001092-A) for the same conduct

        involved in this case. Defendant’s attorney in state court, David W.

        Macey, believes this case may be resolved if this additional time to

        surrender is granted.

     6. In addition, or in the alternative, Mr. Yabrudi respectfully request that

        he be allowed to surrender at the Marshal’s office in Dallas, Texas, at

        1100 Commerce Street, Room 1657, Dallas, TX, 75242. Such change

        would spare Mr. Yabrudi the added expense of a flight and hotel stay in

        Tampa.

     7. Undersigned Counsel has discussed this Motion with AUSA Joseph

        Palazzo and has been advised that the Government has no objection.

        WHEREFORE, Defendant respectfully requests that the Court grant his

     Motion requesting additional time to self-surrender and a change of

     surrender location.



                                         Respectfully submitted,

                                  By:    /s/ Leonardo E. Concepcion
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                            CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2019, I electronically filed the foregoing

with the Clerk of the Court by using the CM/ECF system which will send a notice of

electronic filing to the following:

       Joseph Palazzo, Esq.



                                            Respectfully submitted,

                                      By:   /s/ Leonardo E. Concepcion
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